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4

5    Attorney for Defendant
     MARCOS PANTOJA-INFANTE
6

7                                 UNITED STATES DISTRICT COURT
8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
9

10                                                    )
     UNITED STATES OF AMERICA,                        )       CASE NO. 2:11-cr-00356-KJM
11              Plaintiff,                            )
12
          vs.                                         )       STIPULATION AND ORDER TO
                                                      )       CONTINUE MOTION HEARING
13   MARCOS PANTOJA-INFANTE.                          )
               Defendants.                            )       Date: April 18, 2013
14
                                                      )       Time: 2:00 p.m.
15                                                    )       Dept.: 27
                                                      )       Honorable Dale A. Drozd
16                                                    )
17

18          IT IS HEREBY STIPULATED by and between Assistant United States Attorney Todd

19   Leras Counsel for Plaintiff and Attorney Preciliano Martinez, Counsel for Defendant Marcos
20
     Pantoja-Infante, that the Motion Hearing date scheduled for April 4, 2013, at 2:00 p.m. be
21
     vacated and the Motion Hearing be continued to this court’s calendar on April 18, 2013 at 2:00
22
     p.m. It is further stipulated that the time period from the date of this stipulation, April 4, 2013,
23

24   through and including the date of the new status conference, April 18, 2013, shall be excluded

25   from computation of time within which the trial of this matter must be commenced under the
26
     Speedy Trial Act, pursuant 18U.S.C. § 3161 (h) (7)(B)(iv) and Local CodeT4. Counsel needs
27
     more time for further investigation. The ends of Justice by this continuance outweighs the
28
     public’s and the defendant’s interest in a speedy trial

                                                          1
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1            The court is advised that counsel have conferred about this request that they have agreed
2
     to the court date of April 18, 2013. Counsel requests time narrow the scope of the issues. Mr.
3
     Leras has authorized Preciliano Martinez to sign this stipulation on his behalf.
4

5            The parties agree and stipulate that time should be excluded under the Speedy Trial Act

6    pursuant to Local Code T4 for preparation of counsel, up to and including April 18, 2013.
7
                                                                  Respectfully Submitted,
8

9    Dated: April 4, 2013                                         /s/ Preciliano Martinez
                                                                  Preciliano Martinez
10
                                                                  Attorney for Defendant
11                                                                MARCOS PANTOJA-INFANTE

12   Dated: April 4, 2013                                         /s/ Todd Leras
                                                                  Todd Leras
13
                                                                  Assistant United States Attorney
14                                                                Attorney for Plaintiff

15                                                ORDER
16
             Having read and considered the foregoing stipulation, IT IS THE ORDER of the Court
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     that the current April 4, 2013 Motion Hearing is hereby vacated and reset to April 18, 2013,
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19
     before Magistrate Judge Edmund F. Brennan. The Judge finds the ends of justice by taking this

20   continuance outweighs the public’s and the defendant’s interest in a speedy trial. It is so ordered
21   time be excluded from today’s date through and including April 18, 2013, in the interests of
22
     justice pursuant to 18U.S.C. § 3161(h)(7)(B)(iv) and Local Code T4.
23
     Dated: April 4, 2013
24

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